Case 8:03-cr-00176-JSM Document 116 Filed 07/18/06 Page 1 of 2 PageID 397



                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION




 RAFAEL ANTONIO,

           Petitioner,

 v.                                                                  CASE NO. 8:06-CV-101-T-30MAP
                                                                              8:03-CR-176-T-30MAP
 UNITED STATES OF AMERICA,

           Respondent.

 ______________________________/


                                                       ORDER

           THIS matter comes before the Court for consideration of Petitioner’s Application to

 Proceed In Forma Pauperis (“IFP”) on appeal (Dkt. 13), filed June 28, 2006.1 Finding that

 Petitioner failed to satisfy the two-prong Slack test,2 the Court denied Petitioner’s application

 for issuance of a certificate of appealability on June 9, 2006 (Dkt. 11). The Eleventh Circuit

 Court of Appeals dismissed Petitioner’s appeal on June 21, 2006, for want of prosecution

 because he failed to pay the $455 docketing and filing fee within the time fixed by the rules

 governing appellate procedure, see Dkt. 12.




           1
          Although the affidavit was stamped "filed" in this Court on July 6, 2006, Petitioner signed it on June
 28, 2006. A pro se inmate's § 2255 motion and documents related thereto are deemed filed the date they are
 delivered to prison officials for mailing. Houston v. Lack, 487 U.S. 266, 271-72 (1988); Adams v. United States,
 173 F.3d 1339, 1340-41 (11th Cir. 1999). In the absence of evidence to the contrary, the Court assumes that
 Petitioner’s affidavit was delivered to prison authorities the day he signed it. See Washington v. United States,
 243 F.3d 1299, 1301 (11th Cir. 2001).
               2
                   See Slack v. McDaniel, 529 U.S. 473, 484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir.
  2001).
Case 8:03-cr-00176-JSM Document 116 Filed 07/18/06 Page 2 of 2 PageID 398



          ACCORDINGLY, the Court ORDERS that Petitioner’s request to proceed on appeal

 in forma pauperis (Dkt. 13) is DENIED.

          DONE and ORDERED in Tampa, Florida on July 18, 2006.




 Copy furnished to:
 All Parties/Counsel of Record

 SA:jsh




                                            2
